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UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF WISCONSIN
MILWAUKEE DIVISION
ROBERT J. HUTCHINSON
Plaintiff

v. : Case No. 2020-CV-01264
JEFFREY KELLING; THOMAS C. TEFELSKE;
WENDY L. TEFELSKE; METALLURGICAL
ASSOCIATES, INC.; DOROTHY H. DEY;
OAKTON AVENUE LAW OFFICES, S.C.;
ESSERLAW LLC; PETER J. PLAUSHINES;
CRAMER, MULTHAUF & HAMMES, LLP; and
AMERICAN ASSOCIATION FOR
LABORATORY ACCREDITATION, INC.

Defendants

DEFENDANT AMERICAN ASSOCIATION FOR LABORATORY
ACCREDITATION, INC.’S MOTION FOR RULE 11 SANCTIONS

Defendant, American Association for Laboratory Accreditation, Inc. (“A2LA”), by and
through counsel, hereby moves for sanctions against Plaintiff, Robert J. Hutchinson (“Mr.
Hutchinson”), pursuant to Fed. R. Civ. P. 11, and in support thereof states as follows:

I. INTRODUCTION
A review of public court records demonstrates that Mr. Hutchinson is a habitual offender of

judicially-sanctionable conduct, and the instant lawsuit is no exception. !

 

‘Indeed, in his road that led here, Mr. Hutchinson has been sanctioned no fewer than five (5) times.
See, e.g., Robert J. Hutchinson v. Kohner, Mann & Kailas, S.C., Milwaukee County Case No.
2018CV3389 (sanctioned $7,500); Kohner Mann & Kailas SC v. Metallurgical Associates, Inc.,
et al., Milwaukee County Case No. 2015CV6012 (sanctioned $5,000 and appeal affirmed by the
Wisconsin Court of Appeals); Jn re Old Metallurgical Associates, Inc., Waukesha County Case
No. 2015CV2187 (twice sanctioned, for $5,500 and $5,049) (“Case No. 2015CV2187”); Tefelske,
ef al. v. Metallurgical Associates, Inc., et al., Waukesha County Case No. 2012CV3673
(sanctioned $11,368.50). Mr. Hutchinson has paid only one of his five court-ordered sanctions
after threat of jail.

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The sole basis for Mr. Hutchinson’s claim for conversion against A2LA here is the A2LA
accreditation issued to a metallurgical laboratory that Mr. Hutchinson has neither owned nor
operated for more than four years. Despite his pre-lawsuit express acknowledgement that an A2LA
“accreditation is site specific” such that it stays with a laboratory site rather than a laboratory
owner—and thus, there is no ownership interest to be converted-——-Mr. Hutchinson nonetheless
filed and maintains this lawsuit. Given the undisputed applicable facts and law, Mr. Hutchinson’s
claim against A2LA violates Rule 11.

YH. PERTINENT BACKGROUND

1. Mr. Hutchinson and Jeff Tefelske owned a corporation, Metallurgical Associates,
Inc., which operated a metallurgical testing laboratory. See Complaint at J 29.

2. Upon information and belief, at some point, Mr. Hutchinson agreed to buy out Mr.
Tefelske’s ownership interest in Metallurgical Associates, Inc. See id. Further upon information
and belief, after a Wisconsin state court ordered Mr. Hutchinson to tender Mr. Tefelske’s
consideration for the deal (see id.), instead of satisfying the judgment entered against him, on or
about November 4, 2015, Mr. Hutchinson initiated a receivership proceeding in Waukesha County
Circuit Court on behalf of Metallurgical Associates, Inc. (see Case No. 2015CV2187). Thereafter,
Metallurgical Associates, Inc. began to be known as “Old Metallurgical Associates, Inc.” (“Old-
MAI”). Complaint at ¥ 39.

3. At the time that Old-MAI entered the receivership, it had an active International
Organization of Standards (“ISO”) accreditation for its laboratory located at 20900 Swenson
Drive, Waukesha, Wisconsin 53186 (the “Swenson Lab Site”). That laboratory provided
metallurgical testing and analysis to the manufacturing industry and was accredited by A2LA
pursuant to Certificate #1529.01 to perform that work at that specific site (the “Swenson Lab Site

Accreditation”). See Complaint at § 141.
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4, A2LA defines accreditation as:

[A] formal recognition of competence that a laboratory can perform tests or

calibrations. Accreditation is available to any type of testing or calibration

laboratory, be it in the private sector ... or in the government sector.

5. After already having filed for receivership and thus knowing the fate of the
Swenson Lab Site, on December 21, 2015, Mr. Hutchinson called A2LA to inquire about the effect
of an “ownership transfer” on the Swenson Lab Site Accreditation. Thereafter, Mr. Hutchinson
followed up with A2LA via electronic mail to confirm his understanding of the earlier telephone
conversation about the “Accreutation [sic] Status Upon Ownership Transfer”:

Dear Ashley,

Thank you for your assistance this morning.

It is my understanding from our conversation today that MAI’s accreditation to ISO

17025 by A2LA would remain valid upon any change in ownership in the company

and that procedures, if any, addressing such change in ownership are contained in
A2LA [R101 — General Requirements].

Please let me know by email if I have misunderstood our conversation today as it
has been described above.

Best wishes for a Blessed Christmas for you and yours.
Rob?

6. To be clear, the R101 —- General Requirements that Mr. Hutchinson attached to and
referenced in his December 21, 2015 email explicitly specified that “[a]ccreditation is site

specific,” meaning, it is not tied to an individual or an entity but instead, to the physical laboratory

 

* See R101 — General Requirements: Accreditation of ISO/IEC 17025 Laboratories (“R101
General Requirements’) at “Part A: Introduction” attached to December 21, 2015 e-mail from Mr.
Hutchinson to A2LA, a copy of which is attached hereto and incorporated herein as Exhibit 1.

While the receivership was pending, on or about January 13, 2016, Old-MAI renewed the
Swenson Lab Site Accreditation.
> See December 21, 2015 email chain between Mr. Hutchinson and A2LA at p.2, a copy of which
is attached hereto and incorporated herein as Exhibit 2.

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(i.e. the Swenson Lab Site) that has been assessed and awarded the A2LA accreditation. See,
generally R101 — General Requirements (Exhibit 1).

7. Consistent therewith, A2ZLA responded to Mr. Hutchinson as follows:

Hi Rob,

Yes, the general accreditation requirements are found in R101 and the specific

requirement to notify A2LA of any changes in the organization within 30 days is

found in R102 — Conditions for Accreditation (attached — item 12),

As we discussed on the phone, laboratories changing ownership is something we

deal with on occasion and the accredited locations are still entitled to maintain

their accreditation, barring any major changes in personnel, equipment, facilities,

quality management system, etc.

I hope that this helps. Please let me know if you have any additional questions.
Have a nice holiday!

Exhibit 2 at pp.1-2 (emphasis added).

8. Satisfied with A2LA’s response, Mr. Hutchinson replied with: “Yes, I think that
answers all. Thank you for your help.” A2LA heard nothing further from Mr. Hutchinson in this
regard. /d. at p.1.

9, In fact, it was not until on or about January 27, 2016, that A2LA learned from Mr.
Tefelske that, pursuant to an Asset Purchase Agreement,’ on the day prior, Mr. Tefelske’s new
company, New-MAI, had purchased the assets of Old-MAI out of receivership and had taken
possession of the Swenson Lab Site.

10. As such, Mr. Tefelske requested that the Swenson Lab Site Accreditation be
assigned from Old-MAI to New-MAI for it to continue the accredited operation of the Swenson

Lab Site.

 

* A copy of the Asset Purchase Agreement is attached hereto and incorporated herein as Exhibit
3.

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11. Consistent with A2LA’s policy that accreditations are “site specific’—as Mr.
Hutchinson had four weeks earlier made clear that he understood—A2LA obliged.

12, It was not until almost two months later, on March 23, 2016, when Mr. Hutchinson
finally got around to notifying A2LA about the fact that Old-MAI no longer occupied the Swenson
Lab Site and had moved its business address—unot a laboratory—to W229 N9467 Norwauk Road
in Colgate, Wisconsin.’ At that time, Mr. Hutchinson requested for the first time that the Swenson
Lab Site Accreditation “be placed on inactive status” since the Old-MAI currently was in
receivership and thus, “testing and analysis had been suspended.” Jd. See also Complaint at 141.°

13. On March 25, 2016, A2LA responded to Mr. Hutchinson, reminding him that any
ISO accreditation—including the Swenson Lab Site Accreditation—is specific to a particular site
and not to an individual or an entity:

A2LA accreditation is specific to a particular site. It is not uncommon for a

laboratory to change ownership. When this occurs, A2LA inquires of the laboratory

with regard to any changes in personnel, equipment, facilities, technical

capabilities, etc. Upon review of all information related to this inquiry and, in some

cases, after an on-site visit to. the laboratory, the accreditation is continued, often

without interruption. It is not a matter of your “selling” or “transferring” your

accreditation to the laboratory’s new owners. Continuation of the laboratory’s
accreditation is A2LA’s decision to make after careful evaluation of the impact on

the laboratory of the change in ownership. The only means by which an

accreditation may be “transferred” is if the laboratory itself moved. It is our

understanding that the laboratory itself remains at Swenson Drive and has not
physically moved to the Norwauk Road location of Metallurgical Associates, Inc.

If this in incorrect, please let us know.

Exhibit 4 at pp.4-5 (emphasis added).
14. Mr. Hutchinson quickly fired back and demanded that A2LA “review the situation

with [its] legal advisor” and “immediately return Metallurgical Associate Inc.’s certificate of

 

> See March 23-April 15, 2016 e-mail chain between Mr. Hutchinson and A2LA at pp.5-6, a copy
which is attached hereto and incorporated herein as Exhibit 4.
° Pursuant to Section XIV of the R101 — General Requirements, as cited by Mr. Hutchinson, “[t}he
Inactive status ... can be given to a laboratory for no longer than one year, after which time the
laboratory is removed from the A2LA system and designated as withdrawn.” Exhibit 1.

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Accreditation to its rightful holder in your data base.” Jd. at pp.3-4. Thus, out of an abundance of

caution, A2LA “inactivated” the Swenson Lab Site Accreditation until it could better understand

the situation. See id. at p.3.

15.

After an opportunity to conduct further due diligence, on April 4, 2016, A2LA

reinstated the Swenson Lab Site Accreditation and notified Mr. Hutchinson of same:

Id.

Since your email below, A2LA has been given the opportunity to review the “Asset
Purchase Agreement” between New-MAI, Inc. and Metallurgical Associates, Inc.
[Old-MAI], including the “Assets to be Purchased” and “Excluded Assets”. The
“Assets to be Purchased” includes the property, equipment and machinery in
addition to intellectual property rights including “know how” (among many other
things). In addition, the “Excluded Asset” list does not include the management
system or any of its documentation. As such, we consider that the physical
laboratory and its intellectual property (all of which were previously) assessed by
A2LA) have been transferred to New-MAI and so the accreditation of New-MAI
has been reinstated. That said, we are organizing a full, on-site assessment of New-
MAT to occur, as soon as logistical arrangements can be made, in order to confirm
compliance with all of A2LA’s requirements and conditions for accreditation.

We understand that Metallurgical Associates, Inc. [Old-MAI] may also, at some
point, have a fully functioning laboratory, ready and able to be assessed and
accredited by A2LA. We would be happy to welcome this laboratory’s application
for accreditation, waiving any new applicant fees so that you would only be
responsible for the annual fee and assessor’s expenses—so there will be no adverse
financial ramifications for you or your organization.

16.

Inexplicably unsatisfied even still, Mr. Hutchinson did not relent, desperately trying

to entangle A2LA in a seemingly ongoing battle he was having with Mr. Tefelske. See id. at pp.1-

3,

17,

On April 16, 2016, A2LA responded to Mr. Hutchinson for the last time. Therein,

A2LA tried to diffuse Mr. Hutchinson with further assurances that A2LA would assess any new

laboratory that he were to open for the less expensive “renewal” fee (compared with a “new

laboratory fee”) while at the same time making clear to him that A2LA would not further engage

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with him to the extent that it involved Mr. Tefelske, New-MAI and/or the Swenson Lab Site
Accreditation.’

18. Mr. Hutchinson never responded. Nor did Mr. Hutchinson contact A2LA for it to
assess the Norwauk Road site, because, as Mr. Hutchinson now has confirmed, he never opened a
laboratory at that site—or any other site for that matter.

19, Now, after 4.5 years of silence, Mr. Hutchinson has concocted a claim that A2LA
somehow converted “Plaintiff's corporation’s ISO Accreditation.” See Complaint at Count IV.
Ii. PERTINENT LAW AND ARGUMENT

A. Rule 11 Standard.

Rule 11(b) of the Federal Rules of Civil Procedure states, in pertinent part:
[b]y presenting to the court a pleading, written motion, or other
paper—whether by signing, filing, submitting, or later advocating
it—an attorney or unrepresented party certifies that to the best of the
person’s knowledge, information, and belief, formed after an
inquiry reasonable under the circumstances:

(1) it is not being presented for any improper purpose, such as to harass,
cause unnecessary delay, or needlessly increase the cost of
litigation;

(2) the claims, defenses, and other legal contentions are warranted by
existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law or for establishing new law;

(3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery ...

Rule 11 is designed “to lend incentive for litigants to stop, think and investigate more

carefully before serving and filing papers,” Berwick Grain Co. v. Illinois Dep’t of Agric., 217 F.3d

502, 505 (7th Cir. 2000) (internal quotations omitted), so that the “powerful, intimidating, and

 

’ See April 28, 2016 letter from A2LA to Mr. Hutchinson, a copy of which is attached hereto and

incorporated herein as Exhibit 5.
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often expensive” machinery of the federal judiciary is engaged appropriately, N. II. Telecom, Inc.
v. PNC Bank, N.A., 850 F.3d 880, 883 (7th Cir. 2017). To this end, the Seventh Circuit has made
clear that “Rule 11 authorizes a district court to impose sanctions on lawyers or parties (or both)
for submissions that are filed for an improper purpose or without a reasonable investigation of the
facts and law necessary to support their claims.” Senese v. Chicago Area IB. of T. Pension Fund,
237 F.3d 819, 823 (7th Cir. 2001).

Even while courts generally will construe pro se filings liberally, Greer v. Bd. of Educ.,
267 F.3d 723, 727 (7th Cir. 2001), a pro se litigant is not exempt from Rule 11, Perry v. Barnard,
911 F.2d 736, 1990 WL 121481, at *3-4 (7th Cir. 1990). In fact, the Seventh Circuit has faced pro
sé litigants similar to Mr. Hutchinson who are undeterred by monetary sanctions alone:

Many pleadings and other papers filed in this court as in other courts have no legal
merit whatsoever; they are frivolous, sometimes vicious, not infrequently
demented. Most of these frivolous filings are by people who are not assisted by
counsel or knowledgeable in the law. Some of these people find it very difficult to
understand or, if they understand, accept the orders that this court issues terminating
their frivolous litigation. They keep on filing. When monetary sanctions are levied
on them for their obduracy, they refuse to pay. Their repetitive filings have no
greater merit than their original filings, but the cumulative effect in clogging the
processes of the court and in burdening judges and staff to the detriment of litigants
having meritorious case is significant.

Support Sys. Int’l, Inc. v. Mack, 45 F.3d 185, 185 (7th Cir. 1995) (per curiam). In these instances,
it is both necessary and appropriate for a district court to “direct the clerks of all federal courts in
the circuit to return unfiled any papers that the litigant attempts to file, unless and until he pays in

full the sanctions that have been imposed against him.” /d. at 186.

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B. Mr. Hutchinson’s conversion claim against A2LA has no basis in law or fact and
has been manufactured only to harass.

Conversion is “the intentional, unauthorized control of another’s chattel so as to interfere
with the owner’s possessory rights.” Midwestern Helicopter, LLC v. Coolbaugh, 839 N.W.2d 167,
170 (Wis. Ct. App. 2013). In order to prevail on a claim for common law conversion, a plaintiff
must first plead—and later, prove—that the defendant: “(1) intentionally controls or takes property
belonging to another, (2) without the owner’s consent, (3) resulting in serious interference with
the owner’s rights to possess the property.” Jd. Because the Swenson Lab Site Accreditation never
belonged to Mr. Hutchinson, his claim for conversion fails on its face.

As a dispositive point, the R101 — General Requirements unambiguously alert applicants
who seek A2LA accreditation that if granted, the “accreditation [will be] site specific” rather than
specific to an individual owner or entity. This is not a reality that was not known to Mr. Hutchinson
prior to his initiation of the instant litigation. In fact, as Mr. Hutchinson prepared to sell Old-MAI’s
assets in the receivership and to transfer the lease of the Swenson Lab Site to the asset’s new
owner, he clarified with A2LA what would become of the Swenson Lab Site Accreditation when
all was said and done. See Exhibit 1 and Exhibit 2. It therefore is bad faith for Mr. Hutchinson now
to insist otherwise.®
In any event, to the extent, arguendo, that anyone held a property interest in the Swenson

Lab Site Accreditation, it certainly was not Mr. Hutchinson, and thus he has no standing to bring

a claim for conversion in the first place. Indeed, even Mr. Hutchinson cannot credibly disagree, as

 

* Moreover, to the extent that Mr. Hutchinson complains that A2LA is guilty of conversion because
it “denied [his] request to place his corporation’s A2LA Accreditation ... on “inactive status”
(Complaint at { 141), this argument equally is without a good faith basis. Even assuming,
arguendo, that Old-MAI ever qualified for “inactive status,” the R101 ~ General Requirements
make unambiguously clear that that status would have expired more than three (3) years ago, as
Old-MAI never opened a new laboratory for which to reactivate the status. See Exhibit 1 at Section
XIV. Therefore, there could never have been any interference with a supposed property interest—
let alone a “serious” one.
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each time the Swenson Lab Site Accreditation is referenced in the Complaint, he refers to it as
“Plaintiff's corporation's ISO Certification” (See, e.g., Complaint at § 86, 139, 140, 141 (emphasis
added)), rather than as something that he in an individual capacity had a right to possess.”
WHEREFORE, American Association for Laboratory Accreditation, Inc. respectfully

requests that this Honorable Court grant its Rule 11 Motion for Sanctions, impose sanctions in the
form of an award to American Association for Laboratory Accreditation, Inc. of its attorneys’ fees
and cost incurred in defending the above-captioned lawsuit, along with its attorneys’ fees and costs
incurred in presenting this Motion, which fees and costs shall be presented by Affidavit at a time
deemed appropriate by the Court, direct the clerk of all federal courts in the Seventh Circuit to
return unfiled any papers that Mr. Hutchinson attempts to file, unless and until he pays in full the
sanctions that have been imposed against him, and grant such other and further relief that this
Court deems just and proper.

Respectfully submitted,

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Attorneys for American Association for Laboratory
Accreditation, Inc.

 

” Given Mr. Hutchinson’s apparent track record with his prior legal counsel, it is not surprising
that he has tried—albeit unsuccessfully—to avoid bringing this action on behalf of Old-MAI as
“[ijt has been the law for the better part of two centuries that a corporation may appear in the
federal courts only through licensed counsel.” Operating Engineers Local 139 Health Benefit Fund
v. Rawson Plumbing, Inc. 130 F.Supp.2d 1022, 1023 (E.D. Wis. 2001).

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CIVIL L. R. 7 CERTIFICATION
American Association for Laboratory Accreditation, Inc. does not intend to file any
additional memorandum or other supporting papers relating to this Motion for Sanctions, other

than a potential Reply Memorandum, if permitted.

/s/ Judith G. Cornwell
Judith G. Cornwell

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that in accordance with Fed. R. Civ. P. 11(c)(2), a copy of the
foregoing Motion for Sanctions!® was served on the 30th day of September, 2020, via first-class
mail, postage prepaid, and electronic mail upon the following:

Robert J. Hutchinson
5611 Forkwood Drive NW
Acworth, GA 30101

robh@metallytics.com

/s/ Judith G. Cornwell
Judith G. Cornwell

 

'° Attached hereto as Exhibit 6 is a copy of the cover letter from undersigned counsel that
accompanied the copy of the Motion for Sanctions served on Mr. Hutchinson on September 30,

2020.
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